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IN THE UNITED sTATEs DISTRICT cotm'r
FoR THE WESTERN DIsTRIcT oF TENNEMG ‘5 AH'O‘ "‘
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SCOTT SIDES,
Plaintiff.

v. Nb. 04-2404 Ma V

VELSICOL CHEMICAL CORPORATION,

Defendant.

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ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT'S MOTION FOR
SUMMARY JUDGMENT

 

Plaintiff Scott Sides (“Sides”) brings claims under Title VII
of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000(e) _;
§§g; (“Title VII”}, for hostile work environment discrimination and
retaliation. Sides also brings state law claims of retaliatory
discharge and negligent infliction of emotional distress. Before
the court is defendant Velsicol Chemical Corporation's (“Velsicol”)
motion for summary judgment, filed on June 3, 2005. Sides filed a
response on July 20, 2005. For the following reasons, Defendant's
motion for summary judgment is GRANTED in part and DENIED in part.
I. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction under 28 U.S.C. § l367(a) to adjudicate state law

claims arising from a common nucleus of operative facts.

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II. Background

The following facts are undisputed or stated in the light most
favorable to the Plaintiff. Sides, a Caucasian male, was employed
by Velsicol as a chemical operator. (Sides Depo. at 42.) Because
Sides' supervisors had a history of using profane language when
addressing him, Velsicol's Human Resources Manager submitted a
letter to Sides' union representative on May 10, 2000, stating that
Velsicol would discipline any manager who communicated with Sides
using a “verbal outburst.” (Compl., Ex. C.)

On March 2, 2004, Sides met with his supervisor Johnny Donald
(“Donald”), an African-American. (Sides Depo. at 47.) During the
meeting, Donald called Sides a “stupid mother-fucker.” (Id.) Donald
repeated the epithet and then threw his clipboard 20 yards. (Id. at
60-61.) Charles Randall (“Randall”), an African-American chemical
operator, was present. (Id. at 47.) when Sides asked Randall if he
had heard Donald's insult, Randall replied “I didn’t hear
anything.” (Id. at 64.) Sides replied “yes, you did.” (Id.) Randall
then “got chest to chest with [Sides] and. put his finder in
[Sides'] face and said, ‘What are you going to do about it white
boy'?” (Id. at 64-65.)

Sides reported Donald's abusive language to Bob Haney, Sides'
immediate supervisor, and Lee Goodrich, an individual in management
at Velsicol. (Id. at 70.) Later, on March 15, 2004, Sides submitted
a written request to see his personnel file. (Id. at 99-100.) Sides
was told that he could not see his personnel file because it was in

Chicago. (Id. at 103.)

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On March 123, 2004, Sides was admitted to Lakesidel for
psychiatric treatment. (Id. at 15-16.) Sides' employment with
Velsicol was terminated on March 24, 2004. (Hall Depo., Ex. 2.)
Sides filed Charge of Discrimination forms with the EEOC on March
5, 2004, and April 28, 2004.

III. Summary Judgment Standard

The party moving for summary judgment “bears the burden of
clearly and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden~Alimak. Inc.,
799 F.2d 1128, 1133 (Eth Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. §g§ §Li_cggt_y_.__gég4
Bradford & CO., 886 F.2d 1472, 1479 (6th Cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. §§e 5ggerson;y;_gib§;;y_hgbby¢
lngé, 477 U.S. 242, 248 (1986).l The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts£' Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party

 

1The full name of “Lakeside” is not in the record.
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may not oppose a properly supported summary judgment motion by mere
reliance on the pleadings. gee Celotex Corp. v. Catrett, 477 U.S.
317, 324 (1986). Instead, the nonmoving party' must present
“concrete evidence supporting its claims.” Cloverdale Eguip. Co.
v. Simon Aerials. Inc., 869 F.2d 934, 937 (6th Cir. 1989). The
district court does not have the duty to search the record for such
evidence. §e§ InterRoval Corn. v. Sponseller, 889 F.2d 108, 110-ll
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. gee id$
IV. Analysis

Sides' Complaint states Title VII claims against Velsicol for
hostile work environment discrimination and retaliation, as well as
state claims.2 (Compl. at j 1.) Velsicol's motion for summary
judgment presents only two arguments: l) that Sides' Title VII
claims are barred because they are not within the scope of his EEOC
Charge of Discrimination;3and 2) that there is no genuine issue of
material fact about whether a hostile work environment existed at
Velsicol and that summary judgment should be granted on this claim.
(Def.'s Mem. in Supp. at 5-6.} Velsicol's motion does not address

Sides' retaliation claim or his state law claims.

 

2 . . .
Sides‘ response to Velsicol's motion for summary judgment implies that
Sides is also claiming disparate treatment discrimination. (Pl.'s Resp. at 9.)
Sides' Complaint, however, makes no mention of a disparate treatment claim.

3 . . . . .
Velsicol ignores the fact that Sides filed two Charges of Dlscrlmlnation.
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A. The Scope of Sides’ EEOC charge of Discrimination

Title VII creates a cause of action for employment
discrimination only after a plaintiff has pursued an administrative
remedy, such as filing a Charge of Discrimination with the EEOC. 42
U.S.C. § 2000(e)-5(f)(1); Love v. Pullman Co., 404 U.S. 522, 523
(1972). The plaintiff's cause of action must fall “within the scope
of the EEOC investigation that is reasonably expected to grow out
of the charge of discrimination that was filed with the EEOC.” gray
V. Palm Beach CO., 907 F.2d 150, 1990 WL 926'72, at *1 (6th Cir.
1990) (citing EEOC v. McCall Printing Corp., 633 F.2d 1232, 1235
(6th Cir. 1980)). Courts are expected to construe administrative
complaints liberally in determining whether a claim in a Title VII
complaint was “reasonably expected to grow out of the charge of
discrimination.” Haithcock v. Frank, 958 F.2d 671, 675-76 (6th Cir.
1992). Liberal construction. of the EEOC complaint is required
because “technicalities are particularly inappropriate in a
statutory scheme [like Title VII] in which laymen, unassisted by
trained lawyers, initiate the process.” Lgyg, 404 U.S. at 527; see
alsg Boykin v. Michigan Dept. of Corrections, 211 F.3d 1268, 2000
WL 491512, at *2 (6th Cir. 2000) (“[w]e may quickly dispose of
defendants' scope argument, as we liberally construe the scope of
a charge originally filed with EEOC").

Velsicol's argument that Sides' Title VII claims are not
within the scope of his EEOC Charge of Discrimination consists of
the following:

This case should be dismissed because the allegations in

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the Complaint exceed the plaintiff's allegations before
the Equal Employment Opportunity Commission. In his EEOC
Complaint, the plaintiff claimed that he was called a
“stupid son-of~a-bitch.” In the Complaint now pending
before the Court, plaintiff claims that he was called a
“stupid mother-fucker.”

(Def.’s Mem. in Supp. at 7.) Velsicol also cites Nance v. Potter,

 

225 F. Supp. 2d 638 (M.D.N.C. 2002) in support of its position.

Substituting the phrase “mother-fucker” for “son-of-a~bitch”
in Sides' EEOC Charge of Discrimination would not have changed the
scope of the EEOC investigation “reasonably expected to grow out of
the charge of discrimination.” Although, in some contexts, the two
phrases may convey substantially different messages, they are
identical for purposes of an EEOC investigation of racial
discrimination in violation of Title VII. Both are insults
inappropriate in the work-place, and both are on their face race-
neutral. Sides' inability to recall the precise insult allegedly
directed at him by his supervisor in a stressful moment speaks to
his credibility as a witness, not to the legal sufficiency of his
claims.

Velsicol's citation. of' Nance does nothing to improve its

 

argument. In gapg§, the plaintiff alleged discrimination based on
disability and retaliation in his EEOC Charge of Discrimination.
ld; at 644-45. The court dismissed the plaintiff's Title VII claims
because Title VII provides relief only from discrimination based on
an individual’s race, color, religion, sex, or national origin. ida

(citing 42 U.S.C. § 2000(e)-2). The Nance court concluded that,

 

because Title VII does not provide protection for discrimination

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based on an individual's disability, a Title VII claim was not
within the scope of an EEOC Complaint that alleged only
discrimination based on disability. gangs does not support
Velsicol's argument that the scope of an EEOC investigation of a
plaintiff's allegation that his supervisor called him a “stupid
son-of-a-bitch” would be different from the scope of an EEOC
investigation of a plaintiff's allegation. that his supervisor
called him a “stupid mother-fucker.” The court denies Velsicol's
motion for summary judgment on Sides' Title VII claims on the
ground that they are outside the scope of his EEOC Complaint.
B. Hostile Work Environment
Hostile working environment claims arise “where

[qualifying] conduct has the purpose or effect of unreasonably
interfering with an individual's work performance or creating an
intimidating, hostile, or offensive working environment.” Meritor
Sav. Bank, FSB v. Vinson, 477 U.S. 57, 65 (1986) (quoting 29 C.F.R.
§ 1604.11(a)(3)). To survive summary judgment a plaintiff must make
out a prima facie case of hostile work environment racial
discrimination. To establish a prima facie case a plaintiff must
show: “(1) he belongs to a protected group; (2) he was subject to
unwelcome harassment; (3) the harassment was based on race; (4) the
harassment affected a term, condition, or privilege of employment
and (5) defendant knew or should have known about the harassment
and failed to take action.” Moore v. KUKA Weldinq Svs. & Robot
Q>_;_L, 171 F.3d 1073, 1078-79 (6th Cir. 1999) .

Harassment is only actionable if it is “sufficiently severe or

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pervasive to alter the conditions of the victim’s employment and
create an abusive working environment.” Meritor Sav. Bank. FSB v.
Vinson, 477 U.S. 57, 67 (1986) (citation omitted). Harassment
claims are to be evaluated considering the totality of the
circumstances. “[T]he issue is not whether each incident of

harassment standing alone is sufficient to sustain the cause of

 

action in a hostile environment case, but whether--taken
together--the reported incidents make out such a case.” Williams v.
General Motors Corp., 187 F.3d 553, 562 (6th Cir. 1999). Conduct is
actionable if it is either “sufficiently severe Q; pervasive.”
Meritor, 477 U.S. at 67 (emphasis added). There is not a threshold
number of incidents below which a plaintiff fails to state a claim
for harassment. Howlev v. Town of Stratford, 217 F.3d 141, 154 (2nd
Cir. 2000).

Relevant circumstances include “the frequency of the
discriminatory conduct; its severity; whether it is physically
threatening or humiliating, or a mere offensive utterance; and
whether it unreasonably interferes with an employee's work
performance.” Harris v. Forklift Svs.. Inc., 510 U.S. 17, 23
(1993). The situation must be such that a reasonable person would
consider it hostile or abusive. ida at 21.

A representative Sixth Circuit case analyzing the legal
sufficiency of a plaintiff's hostile work environment claim is
Parks v. City of Chattanooga, 74 Fed. Appx. 432 (6th Cir. 2003). In
£a;ks, the plaintiff “Parks alleged that [his supervisor]

Lieutenant Fuson enforced the Department's facial hair policy

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against him one time in a selective fashion; favorably falsified
the statistics of a white officer so that he could grant that
officer preferential job assignments; ‘loaned out' Parks more than
his fellow officers; and failed to offer Parks any seminar or
training opportunities for two years.” ldg_ at 441. The Sixth
Circuit, assuming arguendo that the acts were racially motivated,
stated: “[a]lthough Lieutenant Fuson’s alleged conduct may have
been impolite, inconsiderate, and even unfair, it did not rise to
the level of the sort of severe or pervasive harassment that is
actionable under Title VII [or § 1981].” ida

Velsicol argues that summary judgment is appropriate because
Sides has not satisfied prongs (3) and (4) of the prima facie test.
Velsicol claims that the only incident of harassment based on race
Sides has presented evidence of is Randall's statement “what are
you going to do about it white boy?”, and that this statement alone
would be insufficient to affect a term, condition or privilege of
Sides' employment.

Sides counters by stating that there is evidence of 7 acts of
racially motivated harassment that taken together are sufficient
for a jury to find that a term, condition or privilege of Sides'
employment was affected. According to Sides, these 7 alleged acts
of racially motivated harassment are:

(1) Randall calling Sides “white boy”;

(2) Donald calling Sides a “stupid mother~fucker” and then

throwing his clipboard;

(3) Velsicol's letter to Sides' union representative stating

that managers would not use offensive language when speaking

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with Sides

§4) The absence of an investigation by Velsicol's management
into Donald's insult of Sides;

(5) Supervisor’s joking about Donald's insult of Sides;

(6) Management's telling Sides that his personnel file was in
Chicago,-4

(7) Sides' being terminated for engaging in a protected
activity.

(Pl.'s Resp. at 13-16.)

First, act (7), Sides' alleged termination for engaging in a
protected activity is an act of retaliation, not an indication of
a hostile work environment. Second, there is no evidence, beyond
Sides' naked assertion in his response to Velsicol's motion for
summary judgment, that acts (2) through (6) were racially
motivated. As Velsicol argues, the only act of racially motivated
harassment for which there is support in the record is act (1),
Randall’s saying to Sides “what are you going to do about it white
boy?”

Sides' harassment at the hands of Randall, another chemical
operator, was much less severe than the harassment suffered by the

plaintiff in Parks at the hands of his supervisor. Even if the

 

court were to assume arguendo that all of the alleged acts of
harassment were racially motivated, the level of harassment would

be less than that in Parks, in which the plaintiff alleged that he

 

was given less desirable work assignments because of his race. The

 

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Sides alleges that this incident constituted racial harassment because it
was a lie. (Pl.'s Resp. at 4.) There is, however, no evidence in the record
showing that the file was not in Chicago.

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racial harassment that Sides allegedly suffered was not
sufficiently pervasive or severe for a jury to find that it altered
a term, condition or privilege of Sides' employment.

Title VII is not a general code of conduct. Although the
alleged behavior of several of the actors involved in this suit, if
true, would be inappropriate in the workplace, Sides did not suffer
a wrong for which federal law provides a remedy. Therefore, the
court grants Velsicol's motion for summary judgment on Sides' Title
VII claim for hostile work environment discrimination.

V. Velsicol’s Compliance With Local Rule 7.2(d)

Sides argues that Velsicol's motion for summary' judgment
should be denied “on account of Velsicol's wholesale noncompliance”
with Local Rule 7.2(d)(2). (Pl.'s Resp. at 11.) Local Rule
7.2(d)(2) requires a party filing a motion for summary judgment to
“designate in the accompanying memorandum by serial numbering each
material fact upon which the proponent relies in support of the
motion and [to] affix to the memorandum copies of the precise
portions of the record relied upon as evidence of each material
fact. If the proponent contends that the opponent of the motion
cannot produce evidence to create a genuine issue of material fact,
the proponent shall affix to the memorandum copies of the precise
portions of the record relied upon as evidence of this assertion.”
Local Rule 7.2(d)(2).

It is not clear how Sides believes Velsicol has failed to
comply with Local Rule 7.2(d)(2). Pages 1 through 4 of Velsicol's

memorandum in support of its motion for summary judgment contain a

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statement of facts in narrative form with citations to 13 numbered
exhibits attached to the memorandum. Page 5 of the memorandum
contains a serially numbered summary of five key facts on which
Velsicol relies when making its arguments in the “argument and
authorities” portion of its memorandum. Velsicol's memorandum is
not in “wholesale noncompliance” with Local Rule 7.2(d).
VI. Conclusion

For the foregoing reasons, the court GRANTS Defendant's motion
for summary judgment on Plaintiff’s Title VII claim for hostile
work environment discrimination and DENIES Defendant's motion for
summary judgment on the ground that Plaintiff’s Title VII claims
are outside the scope of his EEOC Charge of Discrimination.
Plaintiff's Title VII claim for hostile work environment

discrimination is DISMISSED.

So ordered this v'rk day of August 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 55 in
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